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             IN THE UNITED STATES DISTRICT COURT FOR
                 THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

ROSELYN BRASWELL,                                )
                                                 )
      Plaintiff,                                 )   Case No.: 2:21-cv-25-ECM
                                                 )
v.                                               )
                                                 )
BOW PLUMBING GROUP, INC.,                        )
                                                 )
      Defendants.                                )



                   JOINT MOTION TO EXTEND DEADLINES


       COME NOW the Parties, Plaintiff Roselyn Braswell (hereinafter

“Braswell”) and Defendant Bow Plumbing Group Inc. (hereinafter “BPG”), and

respectfully request an extension of all dates and deadlines set out in this Honorable

Court’s Orders dated November 15, 2021 (Doc. 28) and December 3, 2021 (Doc.

31). In support, the Parties state as follows:

      1.     The Court’s current schedule includes the following deadlines:

             a.     The expert disclosure deadline on class certification issues from

             Plaintiff is June 14, 2022.

             b.     The expert disclosure deadline on class certification issues from

             the Defendant is August 2, 2022.
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             c.      The deadline for motions for class certification is September 14,

             2022.

             d.      The expert disclosure deadline on the merits from the Plaintiff is

             December 6, 2022.

             e.      The expert disclosure deadline on the merits from the Defendant

             is January 5, 2023.

             f.      The discovery deadline is March 6, 2023.

             g.      The dispositive motions deadline is April 5, 2023.

      2.     Although the Parties are working together in good faith to complete the

requisite discovery necessary to satisfy each of these deadlines, the circumstances

of this case are such that additional time will be necessary to adequately prepare for

both the Plaintiff and Defendant’s expert disclosures on class certification issues, as

well as the motion for class certification.

      3.     Specifically, this Court recently heard oral arguments on Plaintiff’s

Motion to Compel (Doc. 34) on May 31, 2022 at which the Parties came to a a

number of agreements on certain documents and information. However, the Parties

were unable to agree on remaining issues which this Court is still considering.

      4.     Additionally, the Parties are attempting to schedule the inspection of

Plaintiff Braswell’s home. To schedule the inspection, the Parties are coordinating

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the schedules of several individuals, including a representative from BPG. Most

individuals required for inspections will be traveling from out of state or even out of

the country. The Parties expect that the information gathered at the inspection of

Plaintiff Braswell’s home will be pertinent to the above referenced deadlines.

      5.     Due to the foregoing, counsel for the Parties request an extension of the

deadlines set in this case. The Parties, however, do not agree on the amount of

extension the Court should grant.

      6.     BPG is willing to agree to a sixty (60) day extension. Plaintiff seeks

ninety (90) days given that Plaintiff has not received an order on her Motion to

Compel and BPG is still in the process of obtaining and preparing documents agreed

to produce during the hearing on Plaintiff’s Motion to Compel. Nevertheless, both

Parties agree that an extension is in the best interest of judicial efficiency.

      WHEREFORE, premises considered, the Parties respectfully request a sixty

(60) day extension of all dates and deadlines set out in this Honorable Court’s Orders

dated November 15, 2021 (Doc. 28) and December 3, 2021 (Doc. 31).

                    Respectfully submitted this the 9th day of June, 2022.




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                                 /s/ Kirby D. Farris
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